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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No. 2:19-cv-00098-JLS (KSx)                       Date: June 10, 2019
 Title: Nehemiah Kong v. Towne Center West I, LLC, et al.

 Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

       Terry Guerrero                                                N/A
       Deputy Clerk                                             Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:             ATTORNEYS PRESENT FOR DEFENDANT:

               Not Present                                      Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER TO SHOW CAUSE (“OSC”)
              REGARDING JOINT STATUS REPORT

        On February 25, 2019, the Court issued an Order Granting Application for Stay
 and Early Mediation: ADA Disability Access Litigation that directed the parties to file a
 Joint Status Report no later than 7 days after completion of the ADR mediation. (See
 Doc. 15). To date, the Court has not received a Joint Status Report filed by the parties.

        Accordingly, counsel is hereby ordered to show cause in writing no later than
 June 17, 2019, why this case should not be dismissed and/or issue sanctions for failure to
 comply with this Court’s order. The Court will consider either the filing of a Notice of
 Settlement or a Stipulation of Dismissal, on or before the date upon which the response is
 due as a satisfactory response to the Order to Show Cause.




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